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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                               CASE NO. 19-53917-sms

 BARBARA JENNINGS,                                    CHAPTER: 13

               Debtor.                                JUDGE: SAGE M. SIGLER

 U.S. BANK NATIONAL ASSOCIATION, AS                   CONTESTED MATTER
 SUCCESSOR IN INTEREST TO BANK OF
 AMERICA NATIONAL ASSOCIATION,
 SUCCESSOR BY MERGER TO LASALLE
 BANK NATIONAL ASSOCIATION, AS
 TRUSTEE FOR GSAMP TRUST 2006-HE3,
 MORTGAGE PASS-THROUGH
 CERTIFICATES, SERIES 2006-HE3,

               Movant,
 v.

 BARBARA JENNINGS, Debtor
 N. WHALEY, INTERIM CH. 13 TRUSTEE,
 Trustee,

               Respondent(s).


                                   NOTICE OF HEARING

       PLEASE TAKE NOTICE that U.S. Bank National Association, as successor in interest
to Bank of America National Association, successor by merger to LaSalle Bank National
Association, as Trustee for GSAMP Trust 2006-HE3, Mortgage Pass-Through Certificates, Series
2006-HE3 has filed a Motion for Relief from the Automatic Stay and related papers with the Court
seeking an Order Granting Relief from the Automatic Stay.

        PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion at the following number: toll-free number: 833-568-
8864; meeting id: 161 179 4270, at 10:15 A. M. on October 19, 2021 in Courtroom 1201, United
States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by
video conference, or in person, either on the date set forth above or on some other day, all
as determined by the Court in connection with this initial telephonic hearing. Please
review the “Hearing Information” tab on the judge’s webpage, which can be found under
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the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top of the webpage
for this Court, www.ganb.uscourts.gov for more information.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file a
written response, you must attach a certificate stating when, how, and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the Clerk
at least two business days before the hearing. The address of the Clerk’s Office is: Clerk, U.S.
Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340, Atlanta, GA 30303. You must also mail
a copy of your response to the undersigned at the address stated below.

         If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot be
rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period. Movant consents to the automatic
stay remaining in effect until the Court orders otherwise.




                                                        Brian K. Jordan, Bar No.: 113008
                                                        Attorney for Movant
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    PHH Mortgage Services                                                             Tel 800-449-8767
    1 Mortgage Way                                                                    Fax 856-917-8003
    Mt. Laurel NJ 08054




                       **** NOTIFICATION OF CONTACT INFORMATION****

PHH Mortgage Corporation, as mortgage loan servicer, has established a toll-free telephone number
for inquiries related to bankruptcy loans. The toll-free telephone number is (866) 947-7729 and
representatives can be reached on Monday - Friday between the hours of 8:30 AM - 5:00 PM Eastern
Time.


                                             ADDENDUM
PHH Mortgage Corporation services the loan on the Property referenced in this document. In the event
the automatic stay in this case is modified, this case dismisses, and/or the Debtor obtains a discharge
and a foreclosure action is commenced on the mortgaged property, the foreclosure will be conducted
in the name of Creditor. Creditor, directly or through an agent, has possession of the promissory note.
Creditor is the original mortgagee or beneficiary or assignee of the Mortgage.
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   PHH Mortgage Services                                                        Tel 800-449-8767
   1 Mortgage Way                                                               Fax 856-917-8003
   Mt. Laurel NJ 08054




                              **IMPORTANT NOTICE**
Upon written request, PHH Mortgage Services will provide the following
information regarding the subject loan:
   *   A copy of the payment history through the date the account was last less
       than 60 days past due.
   *   A copy of the note.
   *   If foreclosure has been commenced or a POC has been filed, copies of any
       assignments of mortgage or deed of trust required to demonstrate the right
       to foreclose on the borrower’s note under applicable state laws.
   *   The name of the investor that holds the loan.
Requests for this information/documentation can be sent to us at the following
address:
                                     PHH Mortgage Services
                                        Mailstop SBRP
                                          PO Box 5469
                                      Mt. Laurel, NJ 08054

This notice is being provided for informational and compliance purposes only. It is
not an attempt to collect a debt.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                 CASE NO. 19-53917-sms

 BARBARA JENNINGS,                                      CHAPTER: 13

                Debtor.                                 JUDGE: SAGE M. SIGLER

 U.S. BANK NATIONAL ASSOCIATION, AS                     CONTESTED MATTER
 SUCCESSOR IN INTEREST TO BANK OF
 AMERICA NATIONAL ASSOCIATION,
 SUCCESSOR BY MERGER TO LASALLE
 BANK NATIONAL ASSOCIATION, AS
 TRUSTEE FOR GSAMP TRUST 2006-HE3,
 MORTGAGE PASS-THROUGH
 CERTIFICATES, SERIES 2006-HE3,

                Movant,
 v.

 BARBARA JENNINGS, Debtor
 N. WHALEY, INTERIM CH. 13 TRUSTEE,
 Trustee,

                Respondent(s).


                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY

       COMES NOW Movant named above and shows this Court the following:

      1.       This Motion is made pursuant to Section 362(d) of the Bankruptcy Code for relief

from the automatic stay for all purposes allowed by law and the contract between the parties,

including, but not limited to, the right to foreclose on certain real property by a private power of

sale contained in a certain Security Deed.

      2.       Movant is the holder or the servicer of a loan secured by certain real property in

which the Debtor has an interest. Said real property is security for a Promissory Note, and is

commonly known as 3720 Montrose Pond Walk, Duluth, Georgia 30096.
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        3.    The Security Deed has been assigned to Movant as evidenced by an assignment of

record.

        4.    On or about October 25, 2011, the Debtor entered into an agreement to modify the

loan.

        5.    There has been a default in mortgage payments which have come due since this

case was filed. As of September 16, 2021, three (3) post petition payments of $851.91 each, less

suspense funds of $660.27 which totals to be $1,895.46, have been missed. In addition, the

following post-petition fees have been incurred: Plan Review in the amount of $150.00;

Preparation and filing of Objection to Confirmation in the amount of $500.00; 410A Loan Payment

History in the amount of $250.00; and Preparation and filing of Proof of Claim in the amount of

$500.00.

        6.    Movant estimates the value of the property to be $200,000.00, based upon Debtor(s)

Bankruptcy Schedules A/B & D.

        7.    As of September 16, 2021, Movant’s total claim is $104,279.14, consisting of

unpaid principal balance of $104,537.59, accrued interest of $1,136.53, less an escrow balance of

$2,015.16, late charges of $42.26, a recoverable balance of $1,414.50 and less suspense funds of

$836.58. This is not an exact figure and may not be relied upon for payoff purposes.

        8.    To the best of Movant’s knowledge, information and belief, its lien is first priority.

Movant has no knowledge, information or belief as to any other secured claims against the

property, other than a second mortgage in the approximate amount of $11, 475.00, held by Ocwen,

according to the Debtor’s schedules.
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       9.          Because of the default and clear inability to make all required payments, Movant is

not adequately protected.

      10.          Because the Loan Documents so provide, Movant is entitled to reasonable

attorney's fees.

      11.          Movant requests that in the event the Motion is granted, the Trustee be ordered to

cease funding any balance of Movant’s claim.

      12.          Movant requests that the provisions of Fed. R. Bankr. P 4001(a)(3) be waived.

      13.          PHH Mortgage Corporation services the underlying mortgage loan and note for the

property referenced in this Motion for Relief for U.S. Bank National Association, as successor in

interest to Bank of America National Association, successor by merger to LaSalle Bank National

Association, as Trustee for GSAMP Trust 2006-HE3, Mortgage Pass-Through Certificates, Series

2006-HE3, and is entitled to proceed accordingly. Should the Automatic Stay be lifted and/or set

aside by Order of this Court or if this case is dismissed or if the debtor obtains a discharge and a

foreclosure action is commenced or recommenced, said foreclosure action will be conducted in

the name of U.S. Bank National Association, as successor in interest to Bank of America National

Association, successor by merger to LaSalle Bank National Association, as Trustee for GSAMP

Trust 2006-HE3, Mortgage Pass-Through Certificates, Series 2006-HE3. U.S. Bank National

Association, as successor in interest to Bank of America National Association, successor by

merger to LaSalle Bank National Association, as Trustee for GSAMP Trust 2006-HE3, Mortgage

Pass-Through Certificates, Series 2006-HE3 has the right to foreclose because it is the original

mortgagee or beneficiary or assignee of the security instrument for the referenced loan. U.S. Bank

National Association, as successor in interest to Bank of America National Association, successor

by merger to LaSalle Bank National Association, as Trustee for GSAMP Trust 2006-HE3,
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Mortgage Pass-Through Certificates, Series 2006-HE3, directly or through an agent has possession

of the promissory note and the promissory note is either made payable to U.S. Bank National

Association, as successor in interest to Bank of America National Association, successor by

merger to LaSalle Bank National Association, as Trustee for GSAMP Trust 2006-HE3, Mortgage

Pass-Through Certificates, Series 2006-HE3, or has been duly endorsed.

      14.      Movant requests that upon entry of an Order Granting this Motion and Lifting the

Stay, the Chapter 13 Trustee make no further payments on account of Movant’s secured claim,

that the secured portion of Movant’s claim be deemed withdrawn without prejudice to Movant’s

right to file an amended unsecured claim for any deficiency and that absent a stipulation or order

to the contrary, Movant shall return to the Chapter 13 Trustee any payments received from the

Trustee on account of Movant’s secured claim, after entry of an Order Granting this Motion.

      15.      Movant requests that it be permitted to contact the Debtor or Debtor’s Counsel, as

appropriate, through its agents, servicers and representatives for the purpose of engaging in

discussions and consideration for possible loss mitigation options, solutions and resolutions, as

appropriate with regard to the underlying Security Deed and Note, including, but not limited to

loan modification or other loss mitigation alternatives.

       WHEREFORE, Movant prays for an Order lifting the automatic stay, authorizing it to

proceed with the exercise of its private power of sale and to foreclose under its Loan Documents

and appropriate state statutes, and for an award of reasonable attorney’s fees. Movant also prays

that Fed. R. Bankr. P. 4001(a)(3) be waived. Movant also prays that the Chapter 13 Trustee make

no further payments on account of Movant’s secured claim, that Movant be permitted to contact

the Debtor or Debtor’s Counsel, as appropriate, through its agents, servicers and representatives
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for the purpose of engaging in discussions and consideration for possible loss mitigation options,

and for such other and further relief as is just and equitable.




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

  IN RE:                                                Case No. 19-53917-SMS

  BARBARA JENNINGS,                                     Chapter 13

                   Debtor.


                                CERTIFICATE OF SERVICE

   This is to certify that on this day I electronically filed the foregoing Notice of Hearing and
Motion for Relief from the Automatic Stay using the Bankruptcy Court’s Electronic Case Filing

program, which sends a notice of this document and an accompanying link to this document to the

following parties who have appeared in this case under the Bankruptcy Court’s Electronic Case

Filing program:

 David E. Galler                                      N. Whaley, Interim Ch. 13 Trustee
   I further certify that on this day I caused a copy of this document to be served via United States

First Class Mail, with adequate postage prepaid on the following parties set forth below at the

address shown for each.

 Barbara Jennings
 3720 Montrose Pond Walk
 Duluth, GA 30096

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.
 Dated: September 22, 2021
                                                Brian K. Jordan, Bar No.: 113008
                                                Attorney for Movant
                                                Aldridge Pite, LLP
                                                Fifteen Piedmont Center
                                                3575 Piedmont Road, N.E., Suite 500
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